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                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEW MEXICO


WILLIAM SPILLMAN and                               )
KATRINA GARCIA SPILLMAN,                           )
                                                   )    Case No. 1:19-cv-660-KK-LF
                               Plaintiffs,         )
                                                   )
                      v.                           )
                                                   )
METROPOLITAN LIFE INSURANCE                        )
COMPANY and VERIZON WIRELESS,                      )

                               Defendants.


                                             ORDER OF DISMISSAL

          THIS MATTER having come before the Court by Plaintiff, William Spillman and

Katrina Garcia Spillman, appearing by and through its attorneys DAVIS MILES MCGUIRE

GARDNER, PLLC (Penelope Quintero), and the Court being otherwise advised in the premises.

          IT IS HEREBY ORDERED that all claims and causes of action contained in the Complaint,

removed to the United States District Court for the District of New Mexico herein on July 18,

2019, and amended on October 2, 2019, along with any and all claims brought and which could

have been brought in that case, and all claims or causes of action contained in Defendants’ Answers

to the Complaint, if any, and any and all claims which could have been brought by Defendants be

and hereby are dismissed with prejudice.



                                                   ________________________________
                                                   ROBERT C. BRACK
                                                   SENIOR U.S. DISTRICT JUDGE




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RESPECTFULLY SUBMITTED BY:

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By: Approved by James P. Hollihan via e-mail on 2.25.20
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By: Approved by Little V. West via e-mail on 2.25.20
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Order Granting Dismissal 41097-001
